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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.

Plaintiffs,

v.                                  CIVIL ACTION NO.: 1:17-cv-02989-AT

BRAD RAFFENSPERGER, ET AL.

       Defendants.



     NONPARTY CATHLEEN A. LATHAM’S MOTION TO WITHDRAW
                     DOCUMENT 1457


     COMES NOW Cathleen Latham, a nonparty to this action, and informs

that Document 1457 was filed in error. Since Document 1457 is a duplicate of

Document 1455, it should be struck and is hereby withdrawn.


     Dated: August 15, 2022        Respectfully submitted,
                                   CHEELEY LAW GROUP, LLC

                                   /s/ Robert D. Cheeley
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                                   Counsel for Nonparty Cathleen Latham
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      RULE 7.1 CERTIFICATE OF COMPLIANCE WITH L.R. 5.1

     I certify that the foregoing document was prepared using 13-point

Century Schoolbook font in compliance with Local Rule 5.1 (C)(3).

                      CERTIFICATE OF SERVICE

     I certify that today I filed the foregoing NONPARTY CATHLEEN A.

LATHAM’S MOTION TO WITHDRAW DOCUMENT 1457 via the Court’s

CM/ECF system, which automatically serves all counsel of record.

     Dated: August 15, 2022              /s/ Robert D. Cheeley
                                         Robert D. Cheeley
                                         Georgia Bar No. 122727




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